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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §        CASE NO. 4:19-cr-00488
                                               §
MARIBEL SANTANA – CERANO                       §


                 OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT

TO THE HONORABLE JUDGE OF SAID COURT:

       Now comes MARIBEL SANTANA – CERANO, Defendant, through counsel, JOSHUA

R. WILLOUGHBY and files these objections to her Pre – Sentence Report (“PSR”) pursuant to

F.R.Cr. P. U.S.S.G. 6A1.1 and 18 U.S.C. §3553 (a) and shows:

                                                   I.

                                 OBJECTION NUMBER ONE

                                       U.S.S.G §2k2.1(b)(5)

       Defendant respectfully objects to the application of PSR. p.14, para 67 specific offense

characteristic that she engaged in the trafficking of firearms and its four point base offense level

increase, and in support thereof shows:

               (1) Defendant did not have knowledge that the weapons would be disposed of

                   illegally or used illegally or sold to illegal persons. See United States v. Moody,

                   915 F.3d 425 (7th Cir. 2019).

               (2) The application of U.S.S.G §2k2.1(b)(5) [trafficking] and U.S.S.G

                   §2k2.1(b)(6)(A) in PSR p.15, para 68 results in impermissible double counting

                   and is prohibited by App. N. 13(d). Both sections involve the same underlying

                   conduct, that is, possession is trafficking and vice versa. See United States v.

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                  Velasquez, 825 F.3d 257, (5th Cir. 2016).

                                                II.

                                OBJECTION NUMBER TWO

                                    U.S.S.G §2k2.1(b)(6)(A)

       Defendant respectfully objects to the application of U.S.S.G §2k2.1(b)(6)(A) in

PSR. p.14, para 68, and in support thereof shows:

              (1) No evidentiary basis exists to support defendant knew the guns would be

                  exported outside the United States. See United States v. Asante, 782 F.3d 639,

                  647-48, (11TH Cir. 2015).

              (2) Double Counting. See objection Number One.

                                                III.

                               OBJECTION NUMBER THREE

       Defendant respectfully objects the application of an Aggravated Role Adjustment

pursuant to U.S.S.G §3E1.1(a) and argues:

       (1) More than one participant was involved in this offense.

       (2) Under the totality of the circumstances and factual predicate defendant was an average

           participant who was directed by other participants on this offense and did not

           understand the scope and structure of the criminal activity; did not participate in the

           planning or organizing of the activity to a great extent; exercised little decision making

           authority or influence in the criminal activity; did not benefit greatly from her actions.

           She exercised minimal authority to direct others.

       (3) Defendant respectfully requests a reduction based on her role as an average participant.




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                                                  IV.

                                  OBJECTION NUMBER FOUR

                                         (Relevant Conduct)

       Defendant respectfully objects to the application of U.S.S.G §2K2.1(b)(1)(C) in PSR. p.14,

para 66 specific offense characteristic and its six point base offense level increase, and in support

thereof shows:

                 (1) The United States Probation Officer assessed MARIBEL SANTANA –

                    CERANO relevant conduct at a total of 82 firearms. The United States

                    Probation Officers makes this conclusion based on information gathered from

                    interviews conducted by FBI Agents of Araceli Santana, Carlos Joel

                    Hernandez, and Jonny Antonio Talavera that they had purchased firearms for

                    Maribel Santana – Cerano. However, these individuals’ declarations cannot be

                    trusted for a number of reasons:

                 (2) All three listed individuals are co-defendants in this case.

                 (3) All three individuals are attempting to work a deal to lessen their culpability

                    and sentencing.

                 (4) Therefore, the United States Probation Officers assessment for relevant conduct

                    is based on unreliable facts, information, and is merely a speculative as to the

                    number of guns and who they were directed by and for whom they were

                    purchasing the guns.

                 (5) Furthermore, of the 34 guns found in Maribel Santana – Cerano’s possession

                    in p. 4, 5, par. 10, 11; 12 of the guns were traced back and attributed to Jonny

                    Antonio Talavera. p. 9, par. 32.



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               (6) In addition, based on Defendant’s plea agreement to the Court, Defendant

                   respectfully asserts that Relevant Conduct is based on 1 firearm. p.14, par. 65.

                   We respectfully request the government to come forward with not speculative,

                   but actual, specific proof to support the relevant conduct findings.

                                                V.

                                  OBJECTION NUMBER FIVE

                                       (Booker Variance)

       Defendant respectfully objects and request a variance. This request is made pursuant to 18

U.S.C § 3553(a) and United States v. Booker, 543 U.S. 220, 125 S.Ct. 738, 750-56, 160 L.Ed. 2d

621 (2005) and in support shows that the sentence requested in the PSR is greater than reasonably

necessary to achieve the goals set forth in 18 U.S.C §3553(a), and in consideration of this request

Defendant states the following:

           (1) Defendant is assessed a base offense level fourteen additional points based on

               specific offense characteristics for the same underlying conduct.

           (2) The sentence is grossly disproportionate to the crime and conduct engaged in by

               defendant.

           (3) Maribel Santana – Cerano is a single mother who had been struggling financially

               to take care of herself and her two daughters.

           (4) Maribel Santana – Cerano is the mother of three children including, Valeria a 13-

               year-old daughter that has an enlarged liver condition that requires constant

               attention and hospitalization. The father of her three children was violent towards

               her, pulled out a knife on the children, charged with domestic violence, does not




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               offer assistance and has not seen the children in six years. Maribel Santana – Cerano

               is the sole caretaker of her 13 – year old daughter.

           (5) Maribel Santana – Cerano’s mother is 83 years old and is dependent upon Maribel

               Santana-Cerano for housing, and all of her other needs.

           (6) Maribel Santana – Cerano was recently diagnosed with a buildup of fluid in on the

               brain, which is Hydrocephalus and can be fatal. Maribel Santana – Cerano is

               awaiting a doctor’s appointment with a specialist to determine the severity.

           (7) Maribel Santana – Cerano is a stable, loving mother and despite her present

               circumstance has continued to work and support her family. She has never been in

               trouble with law enforcement and has a clear criminal history. She has the support

               of her eldest daughter and son.

                                                 VI.

                                   OBJECTION NUMBER 6

                                (Substantive Unreasonableness)

       Defendant asserts that given her age, criminal history, role in the crime, and the totality of

circumstances the guideline recommended sentence in the PSR is substantively unreasonable. Gall

v. United States, 552 U.S. 38, 49 (2007).


                                              Respectfully submitted,

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                                          attorneyjrw@gmail.com
                                          ATTORNEY FOR MARIBEL                 SANTANA
                                          CERANO

                              CERTIFICATE OF SERVICE

       I, JOSHUA R. WILLOUGHBY, certify that on, February 16, 2021, a true and correct copy

of the foregoing Objections to Presentence Investigation Report has been served upon the

following:

SERVED UPON                                             METHOD

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                                                 By: /S/ JOSHUA R WILLOUGHBY




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